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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

DANIEL MEYER, MEARON OKONSKY,
and ANDREA CAPANI Derivatively on
Behalf of Nominal Defendant ASTRA
SPACE INC. (F/K/A HOLICITY INC.),                 Case No. 1:22-cv-00308-CJB

Plaintiffs,

v.

CHRIS C. KEMP, ADAM LONDON,
CRAIG O. MCCAW, SCOTT
STANFORD, MICHAEL LEHMAN,
MICHÈLE FLOURNOY, LISA NELSON,
KELYN BRANNON, AND STEVEN
EDNIE,

Defendants,

and,

ASTRA SPACE INC. (F/K/A HOLICITY
INC.),

Nominal Defendant.


               STIPULATION AND [PROPOSED] ORDER TO DISMISS THE
                    DERIVATIVE ACTION WITHOUT PREJUDICE

        WHEREAS, on March 8, 2022, Plaintiffs filed a Verified Stockholder Derivative

Complaint (the “Complaint”) in this action;

        WHEREAS, on May 20, 2022, Defendants filed a Motion to Dismiss with Opening Brief

in support thereof (the “Motion”) (D.I. No. 8);

        WHEREAS, the Parties met and conferred and set a schedule for Plaintiffs’ response to

the motion to dismiss (D.I. No. 9);

        WHEREAS, the Parties thereafter met and conferred as to the motion to dismiss and
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 have determined at this time that a stipulated dismissal without prejudice is appropriate;

        NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED by the Parties

 hereto, through their undersigned counsel, as follows:

        1. Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), the undersigned counsel

            hereby stipulate that all claims brought by Plaintiffs in this Derivative Action against

            the Derivative Defendants be dismissed in their entirety without prejudice, each side

            to bear its own costs and expenses. The undersigned counsel will not contest that

            counsel and the Parties have complied with the provisions of Federal Rule of Civil

            Procedure 11.


Dated: July 8, 2022                           /s/ Ryan M. Ernst
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                                              Counsel for Plaintiffs




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                                   Attorneys for the Individual Defendants and
                                   Nominal Defendant Astra Space Inc.


         SO ORDERED this ____ day of _____________, 2022.



                                  United States Magistrate Judge




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